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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) BETTY MOSS, as the Personal            )
   Representative of the Estate of            )
   Ransom Andrew Moss, Deceased,              )
                                              )
                 Plaintiff,                   )
   vs.                                        )       Case No. CIV-16-517-GKF-FHM
                                              )
   (1) CREEK COUNTY PUBLIC                    )
   FACILITIES AUTHORITY,                      )
   (2) ADVANCED CORRECTIONAL                  )
   HEALTHCARE, INC.,                          )
                                              )
                 Defendants.                  )

                    STIPULATION OF DISMISSAL WITHOUT PREJUDICE

          Plaintiff and Defendants jointly stipulate that the above-styled case is hereby

   dismissed without prejudice. Defendants reserve the right to seek costs from Plaintiff

   pursuant to Rule 41(d), Fed. R. Civ. P., if the case is re-filed.

                                                      Respectfully submitted,

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                                                      ~and~

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